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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                         CASE 0:23-cv-61223-RKA


  TARA RULE, individually and                            )
  on behalf of others similarly situated,                )
                                                         )
                          Plaintiff,                     )
                                                         )
  vs.                                                    )       Case 0:23-cv-61223-RKA
                                                         )
  HEALTHCARE REVENUE RECOVERY                            )
  GROUP, LLC                                             )       JURY TRIAL DEMANDED
                                                         )
                          Defendant.                     )

             DEFENDANT HEALTHCARE REVENUE RECOVERY GROUP, LLC’S
                      CERTIFICATE OF INTERESTED PERSONS
                    AND CORPORATE DISCLOSURE STATEMENT

        Defendant Healthcare Revenue Recovery Group, LLC, pursuant to Fed. R. Civ. P. 7.1,

  hereby files its disclosure statement and states as follows:

        1. The name of each person, attorney, association of persons, firm, law firm, partnership and
           corporation that has or may have an interest in the outcome of this action – including
           subsidiaries, conglomerates, affiliates, parent corporations, publicly-traded companies that
           own 10% or more of a party’s stock, and all other identifiable legal entities related to any
           party in the case:

           A.      Plaintiff Tara Rule

           B.      Counsel for Plaintiff:

                   Manuel S. Hiraldo, Esquire
                   Hiraldo P.A.
                   401 E. Las Olas Blvd., Suite 1400
                   Ft. Lauderdale, FL 33301
                   mhirald@hiraldolaw.com




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                Michael Eisenband, Esquire
                Eisenband Law, P.A.
                515 Las Olas Blvd., Suite 120
                Fort Lauderdale, FL 33301
                meisenband@eisenbandlaw.com

        C.      Defendant Healthcare Revenue Recovery Group, LLC

        D.      Counsel for Defendant:

                Avery A. Dial, Esquire
                Kaufman Dolowich LLP
                100 SE Third Avenue, Suite 1500
                Fort Lauderdale, FL 33394
                adial@kdvlaw.com



     2. The name of every other entity whose publicly-traded stock, equity, or debt may be
        substantially affected by the outcome of the proceedings:

        None.

     3. The name of every other entity which is likely to be an active participant in the proceedings,
        including the debtor and members of the creditors’ committee (or twenty largest unsecured
        creditors) in bankruptcy cases:

        N/A.

     4. The name of each victim (individual or corporate) of civil and criminal conduct alleged to
        be wrongful, including every person who may be entitled to restitution.

        None.




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         I hereby certify that, except as disclosed above, I am unaware of any actual or potential

  conflict of interest involving the district judge and magistrate judge assigned to this case and will

  immediately notify the Court in writing on learning of any such conflict.



                                                KAUFMAN DOLOWICH LLP
                                                /s/Avery Dial
                                                Avery A. Dial, Esquire
                                                Fla. Bar No. 732036
                                                Email: adial@kdvlaw.com
                                                100 SE Third Avenue, Suite 1500
                                                Fort Lauderdale, FL 33394
                                                Tel: (954) 302-2498
                                                Fax: (888) 464-7982
                                                Attorneys for Defendant Healthcare Revenue
                                                Recovery Group LLC

  Dated: September 25, 2023


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 25th day of September 2023, a true and correct copy of

  the foregoing was filed with the Clerk of the Court using the CM/ECF system which will send

  notice of electronic filing to all parties or in some other authorized manner for those counsel or

  parties who are not authorized to receive notices electronically.

                                                        Respectfully submitted,


                                                By:     /s/Avery Dial
                                                        Avery Dial, Esquire
                                                        Fla. Bar No. 732036
                                                        Email: adial@kdvlaw.com




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